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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       7
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Xceligent, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          Xceligent Holdings, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business



                                  103 SE Magellan Dr., Blue Springs, MO 64014
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Jackson                                                           Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.xceligent.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Xceligent, Inc.                                                                                Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                               Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               5312

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                               Chapter 7
     debtor filing?
                                               Chapter 9
                                               Chapter 11. Check all that apply:
                                                                   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                               Chapter 12



9.   Were prior bankruptcy                  No.
     cases filed by or against
     the debtor within the last 8
     years?                             Yes.
     If more than 2 cases, attach a
     separate list.                                District                                 When                                  Case number
                                                   District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     Please see attached Schedule 1                                  Relationship
                                                   District                                 When                              Case number, if known




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Debtor   Xceligent, Inc.                                                                         Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs         Yes.
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No


                                           Yes.        Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of               Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                 50,001-100,000
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




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